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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                                                                    FILED IN
                         ATLANTA DIVISION                                      OPEN
                                                                                      COURT
                                                                                - Atlanta
                                                                     DEC 5
  UNITED STATES OF AMERICA                                                    2
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        V.                                Criminal Indictment        iqo7             CIerk
                                                                                      erk
  RICHARD MAHEE,                          No.
  KRISTEN ALEXANDER,
  DAVID BURGE,                            UNDER SEAL
  GINA DESTITO,
  JIM WHITE,
  MORGAN BROWN,
  CARLOS STEPHENS,
  MARVIN LEWTON,
     a/k/a "Shadi Powers,"
  DALE GODBOLDO, and
  ION OVERMAN


THE GRAND JURY CHARGES THAT:


                                   Background
  At times relevant to this Indictment:
     The Defendants
  1. DAVID BURGE ("BURGE") was an individual residing in the state of
Tennessee who claimed to be an owner and the Chief Executive Officer
and President of Elemental Comfort, LLC, a Tennessee corporation.
  2. GINA DESTITO ("DESTITO") was an individual residing in the state
of California who claimed to be the owner of HomePoppins.com LLC, a
Nevada corporation.
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   3. JIM WHITE ("WHITE") was an individual residing in the state of

New Jersey who claimed to be an owner of AJW Home Services and
Design LLC, a New Jersey corporation.
   4. RICHARD MAHEE ("MAHEE") was an individual residing in the state of New
Jersey who claimed to be the owner and President of ARG Media LLC, a
California corporation.
   5. KRISTEN ALEXANDER ("ALEXANDER") was an individual residing in the
state of Colorado.
   6. MORGAN BROWN ("BROWN") was an individual residing in the state
of Tennessee who claimed to be an owner and the Chief Executive
Officer of BHG LLC, a Tennessee corporation.
   7. CARLOS STEPHENS ("STEPHENS") was an individual residing in the
state of Louisiana who claimed to be the owner and Manager of 31
Minds LLC, a Louisiana corporation.
   8. MARVIN LEWTON, A/K/A "SHADI POWERS" ("LEWTON") was an
individual residing in the Northern District of Georgia who claimed to
be the owner of Powers Transport Group LLC and DirtySouthHipHop
Online Media Group LLC, which were Georgia corporations.
   9. DALE GODBOLDO ("GODBOLDO") was an individual residing in the
state of California who claimed to be the owner and President of
Mahout Star LLC, a California corporation.




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   10.ION OVERMAN ("OVERMAN") was an individual residing in the state
of California who claimed to be the owner of Bryanston Square Inc., a
California corporation.
       Unindicted Co-Conspirator
   11.Mark Mason ("Mason") was an individual residing in the Northern
District of Georgia who claimed ownership of M&N Enterprise, LLC, a Georgia
corporation, doing business as Atlanta Business Capital.
   The Small Business Administration
   12.The United States Small Business Administration ("SBA") was an
executive branch agency of the United States government that provided support
to entrepreneurs and small businesses. The mission of the SBA was to maintain
and strengthen the nation's economy by enabling the establishment and viability
of small businesses and by assisting in the economic recovery of communities
after disasters.
   13.As part of this effort, the SBA enabled and provided for loans through
banks, credit unions, and other lenders. These loans had government-backed
guarantees.
   The Paycheck Protection Program
   14.The Coronavirus Aid, Relief, and Economic Security ("CARES") Act was a
federal law enacted in or about March 2020 and was designed to provide
emergency financial assistance to the millions of Americans who are suffering
the economic effects caused by the COVID-19 pandemic.
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   15.One source of relief that the CARES Act provided was the authorization of
up to $349 billion in forgivable loans to small businesses for payroll, mortgage
interest, rent/lease, and utilities, through a program referred to as the Paycheck
Protection Program ("PPP"). In April 2020, Congress authorized up to $310
billion in additional PPP funding.
   16.The PPP allowed qualifying small businesses and other organizations to
receive PPP loans. Businesses must use PPP loan proceeds for payroll costs,
interest on mortgages, rent, and utilities. The PPP allowed the interest and
principal on the PPP loan to be entirely forgiven if the business spent the loan
proceeds on these expense items within a designated period of time and used a
certain percentage of the PPP loan proceeds for payroll expenses.
   17.The amount of a PPP loan that a small business may have been entitled to
receive was determined by the number of employees employed by the business
and the business's average monthly payroll costs.
   18.In order to obtain a PPP loan, a qualifying business was required to submit
a PPP loan application, which was signed by an authorized representative of the
business. The PPP loan application required the business (through its authorized
representative) to acknowledge the program rules and make certain affirmative
certifications in order to be eligible to obtain the PPP loan. In the PPP loan
application, the small business (through its authorized representative) had to
state, among other things, its (a) average monthly payroll expenses and (b)
number of employees. These figures were used to calculate the amount of money
the small business was eligible to receive under the PPP. In addition, businesses

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applying for a PPP loan had to provide documentation showing their payroll
expenses.
   19.The SBA oversaw the PPP. However, individual PPP loans were issued by
private, approved lenders who received and processed PPP applications and
supporting documentation, and then made loans using the lenders' own funds,
which were 100% guaranteed by the SBA. Data from the application, including •
information about the borrower, the total amount of the loan, and the listed
number of employees, were transmitted by the lender to the SBA in the course of
processing the loan.
   Background on Financial Institution 1
   20.Financial Institution 1 was a non-bank financial institution headquartered
in Laguna Hills, California. Financial Institution 1 participated in the SBA's PPP
as a lender, and as such, was authorized to lend funds to eligible borrowers
under the terms of the PPP.
   The Fraudulent PPP Loan Applications and Supporting Documentation
   21.On or about the dates listed below, the defendants identified below
submitted, or assisted in the submission of, a PPP loan application for the
businesses identified below with the reported average monthly payroll and
number of employees listed below, to Financial Institution 1 to issue PPP loans:
 Defendants             Business            Date Signed       Avg.     Employees
                                            (on or about)   Monthly
                                                             Payroll
BURGE,          Elemental Comfort LLC       April 7, 2020   $29,500    4
MAHEE,
ALEXANDER


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 DESTITO,       HomePoppins.com LLC          April 8, 2020    S31,893    5
 MAHEE
 WHITE,         AJW Home Services and        April 10, 2020   S19,360    5
 MAHEE          Design LLC
 MAHEE,         ARG Media LLC                April 11, 2020   S144,685   20
 ALEXANDER
 BROWN,         BHG LLC                      April 15, 2020   S17,500    6
 MAHEE,
 ALEXANDER
 STEPHENS,      31 Minds LLC                 May 7, 2020      S23,833    4
 MAHEE
 LEWTON,        Powers Transport Group       May 24, 2020     S23,169    4
 MAHEE          LLC
 GODBOLDO,      Mahout Star LLC              June 9, 2020     S123,759   15
 MAHEE,
 ALEXANDER
 OVERMAN,       Bryanston Square Inc.        June 9, 2020     S90,426    11
 GODBOLD°,
 MAHEE,
 ALEXANDER
 LEWTON,        DirtySouthHipHop             August 5, 2020   S154,585   15
 MAHEE          Online Media Group LLC
   22. Each PPP Borrower Application Form was manually or electronically
signed on or about the dates listed in paragraph 21.
   23.1n addition, the loan applications contained the respective initials of each
purported business owner to certify each of the following representations:
         a. The Applicant business was in operation on February 15, 2020 and
             had employees for whom it paid salaries and payroll taxes or paid
             independent contractors, as reported on Form(s) 1099-MISC;
         b. The funds will be used to retain workers and maintain payroll or
             make mortgage payments, lease payments, and utility payments;
             and


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         c. The information provided in the application and the information

            provided in all supporting documents and forms is true and

            accurate in all material respects.

   24. The PPP loan applications listed in paragraph 21 each included falsified

Internal Revenue Service (IRS) Forms 941 for multiple quarters of 2019 and/or

2020. The IRS Form 941 is the Employer's Quarterly Federal Tax Return. This

form is used by employers to report income taxes, FICA taxes, Social Security

tax, or Medicare tax withheld from employees' paychecks, and to pay the

employer's portion of Social Security or Medicare tax. Generally, any person or

business that pays wages to an employee must file a Form 941 each quarter and

must continue to do so even if there are no employees during some of the

quarters. The PPP loan applications listed in paragraph 21 included falsified

Forms 941 for the respective businesses as follows:

         a. The PPP application for ARG Media LLC included falsified Forms

            941 for the third and fourth quarter of 2019.

         b. The PPP applications for Elemental Comfort LLC, BHG LLC, and 31

            Minds LLC included falsified Forms 941 for each quarter of 2019.

         c. The PPP applications for HomePoppins.com LLC, AJW Home

            Services and Design LLC, Powers Transport Group LLC, Mahout

            Star LLC, and Bryanston Square Inc. included falsified Forms 941 for

            each quarter of 2019 and the first quarter of 2020.




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         d. The PPP application for DirtySouthHipHop Online Media Group
             LLC included falsified Forms 941 for each quarter of 2019 and the
             first and second quarters of 2020.
   25.In addition, the PPP loan applications listed in paragraph 21 each included
falsified payroll documentation, including purported payroll spreadsheets
and/or a purported payroll calculator.
   26.For each of the loan applications listed in paragraph 21, the falsified Forms
941 were created and submitted by Mason, at the direction of defendant MAHEE.
Mason also created the purported payroll spreadsheets and/or purported
payroll calculators.
   27.The purported business owners knew the Forms 941 filed with their
businesses' respective loan applications were falsified. Defendants MAHEE and
ALEXANDER, and the purported business owners communicated with Mason
about the fraudulent PPP loan applications, as well as the amounts to include on
the Forms 941 and purported payroll spreadsheets submitted with the
applications.
   28.None of the Forms 941 included with the PPP loan applications listed in
paragraph 21 was filed with the IRS. With the exception of ARG Media LLC,
none of the businesses listed in paragraph 21 filed any Forms 941 in 2019. ARG
Media LLC filed a Form 941 in 2019, but did not report any wages. In fact, during
the period captured by the Forms 941, the businesses listed in paragraph 21 did
not: (1) pay unemployment tax to the IRS, or (2) withhold federal income tax for
any employee. HomePoppins.com LLC, 31 Minds LLC, Powers Transport Group

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LLC, and DirtySouthHipHop Online Media Group LLC did not make any tax
filings with the IRS.
PPP Loan Funding and Transfers of Money
   29. Based on fraudulent and false representations and submissions made by
and on behalf of the purported business owners, Financial Institution 1 funded
the PPP loans as follows:
         a. On or about May 14, 2020, approximately 94,582.50 in PPP loan
             funds was distributed by Financial Institution 1 to Elemental
             Comfort LLC.
         b. On or about May 14, 2020, approximately S43,750.00 in PPP loan
             funds was distributed by Financial Institution 1 to BHG, LLC.
         c. On or about May 14, 2020, approximately $361,710.00 in PPP loan
             funds was distributed by Financial Institution 1 to ARG Media LLC.
         d. On or about May 14, 2020, approximately S59,582.50 in PPP loan
             funds was distributed by Financial Institution 1 to 31 Minds LLC.
         e. On or about June 4, 2020, approximately 557,922.00 in PPP loan
             funds was distributed by Financial Institution 1 to Powers Transport
             Group LLC.
         f. On or about June 18, 2020, approximately S309,400.00 in PPP loan
             funds was distributed by Financial Institution 1 to Mahout Star LLC.

         g. On or about June 30, 2020, approximately 48,400.00 in PPP loan
             funds was distributed by Financial Institution 1 to AJW Homes
            Services and Design LLC.

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          h. On or about June 30, 2020, approximately S226,065.00 in PPP loan
                funds was distributed by Financial Institution 1 to Bryanston Square
                Inc.
          i. On or about July 2, 2020, approximately S79,725.00 in PPP loan
                funds was distributed by Financial Institution 1 to
                HomePoppins.com LLC.
   30.The loan application submitted for DirtySouthHipHop LLC in the amount
of $386,463.00 was denied and never funded.
   31.For their work on the PPP loan applications, Mason and defendant MAHEE
received and expected to receive two to five percent of the funded loan amount
as a "success fee" from each purported business owner. After the PPP loan funds
were distributed, defendants DESTITO, WHITE, BROWN, STEPHENS, LEVVTON,
GODBOLDO, and OVERMAN transferred and directed the transfer of a percentage
of the PPP proceeds for their respective loans to Mason, defendant MAHEE, or
their businesses as a "success fee."

                                     Count One
                   Conspiracy to Commit Wire Fraud - 18 U.S.C. § 1349
                         (Defendants MAHEE and ALEXANDER)
   32.The Grand Jury re-alleges and incorporates by reference the factual
allegations contained in paragraphs 1 through 31 of this Indictment as if fully set
forth herein.
   33.From at least on or about April 1, 2020 through on or about August 9, 2020,
the exact dates unknown, in the Northern District of Georgia and elsewhere, the
Defendants,
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                              RICHARD MAHEE, and
                              KRISTEN ALEXANDER,
did knowingly and willfully combine, conspire, confederate, agree, and have a
tacit understanding with each other, Mark Mason, and others known and
unknown to the Grand Jury, to devise and intend to devise a scheme and artifice
to defraud, and to obtain money and property, by means of materially false and
fraudulent pretenses, representations, and promises, and by the omission of
material facts, well knowing and having reason to know that said pretenses were
and would be false and fraudulent when made and caused to be made and that
said omissions were and would be material, and, in doing so, caused interstate
and foreign wire communications to be made, in furtherance of the scheme and
artifice to defraud, in violation of Title 18, United States Code, Section 1343.
                                Manner and Means
   34.Defendants MAHEE and ALEXANDER, together with Mason and others
known and unknown to the Grand Jury, conspired to submit false materials,
such as false PPP loan applications and false IRS Forms 941 to Financial
Institution 1 to obtain PPP loan funding.
   35.It was part of the conspiracy that defendant MAHEE directed MASON to
fabricate documents on behalf of "clients" that defendant MAHEE identified
(defendants BURGE, DESTITO, WHITE, BROWN, STEPHENS, LEWTON, GODBOLDO, and
OVERMAN) so they could apply for and receive PPP loans. Defendant MAHEE also
directed Mason to fabricate IRS Forms 941 to be submitted with defendant
MAHEE'S own PPP loan application for the business ARG Media LLC. The
purpose of the false Forms 941 was to circumvent Financial Institution l's

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requirement that prospective borrowers submit Forms 941 to support the payroll
figures that served as the basis for PPP loan amounts. Mason created the
falsified Forms 941 on behalf of the purported business owners. The Forms 941
that Mason created, which had never been filed with the IRS, were submitted in
support of the PPP loan applications set forth in paragraph 21.
   36.It was also part of the conspiracy that defendant ALEXANDER assisted in
the preparation of the loan documents for submission to Financial Institution 1
on behalf of defendant MAHEE'S clients, which she knew included false tax
information in the form of the fabricated Forms 941. Defendant ALEXANDER also
assisted in the collection of the "success fees" charged by Mason and defendant
MAHEE in exchange for their roles in creating and submitting the falsified loan
applications.
   37.Throughout the conspiracy, defendants MAHEE and ALEXANDER, together
with Mason, utilized interstate wires to submit, assist in the submission, and
communicate with each other and the purported business owners about the
submission of false documents to Financial Institution 1 when applying for a PPP
loan, including fabricated IRS Forms 941 listing falsified payroll information and
false loan documentation that listed false payroll information, false employment
information, and a false purpose for the loan funding.
All in violation of Title 18, United States Code, Section 1349.




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                                     Count Two
                 Conspiracy to Commit Wire Fraud - 18 U.S.C. § 1349
                   (Defendants MAHEE, BURGE, and ALEXANDER)
   38.The Grand Jury re-alleges and incorporates by reference the factual
allegations contained in paragraphs 1 through 31 and 34 through 37, of this
Indictment as if fully set forth herein.
   39.From on or about April 4, 2020 through on or about May 20, 2020, the exact
dates unknown, in the Northern District of Georgia and elsewhere, the
Defendants,
                                RICHARD MAHEE,
                                DAVID BURGE, and
                               KRISTEN ALEXANDER,
did knowingly and willfully combine, conspire, confederate, agree, and have a
tacit understanding with each other, Mark Mason, and others known and
unknown to the Grand Jury, to devise and intend to devise a scheme and artifice
to defraud, and to obtain money and property, by means of materially false and
fraudulent pretenses, representations, and promises, and by the omission of
material facts, well knowing and having reason to know that said pretenses were
and would be false and fraudulent when made and caused to be made and that
said omissions were and would be material, and, in doing so, caused interstate
and foreign wire communications to be made, in furtherance of the scheme and
artifice to defraud, in violation of Title 18, United States Code, Section 1343.
                                Manner and Means
   40.Defendants MAHEE, BURGE, and ALEXANDER, together with Mason and
others known and unknown to the Grand Jury, conspired to submit false

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materials, such as a false PPP loan application and false IRS Forms 941, to
Financial Institution 1 to obtain PPP loan funding.
   41.As part of the conspiracy, defendants MAHEE, BURGE, and ALEXANDER,
together with Mason, submitted false documents to Financial Institution 1 when
applying for a PPP loan on behalf of Elemental Comfort LLC, including
fabricated IRS Forms 941 listing falsified payroll information. Mason created the
falsified Forms 941 on behalf of defendant BURGE. The Forms 941 that Mason
created, which had never been filed with the IRS, were submitted in support of
the PPP loan application. The purpose of the false Forms 941 was to circumvent
Financial Institution l's requirement that prospective borrowers submit Forms
941 to support the payroll figures that served as the basis for PPP loan amounts.
   42.The fabricated Forms 941 reflected the following payroll figures for 2019:

    Business             Q1 2019     Q2 2019     Q3 2019    Q4 2019
                        Jan - Mar   Apr - Jun   Jul - Sep  Oct - Dec
    ELEMENTAL         4 employees 4 employees 4 employees 4 employees
    COMFORT LLC       S88,500.00  S88,500.0O  S88,500.00  S88,500.00
   43.In fact, in 2019, Elemental Comfort LLC did not: (1) file any Forms 941
with the IRS, (2) pay unemployment tax to the IRS, or (3) withhold federal
income tax for any employee.
   44.In addition, Mason created and submitted falsified payroll documentation
for Elemental Comfort LLC, including a purported payroll calculator listing
Elemental Comfort LLC's average monthly payroll as S37,833 and the requested
loan amount as S94,583.



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   45.When the PPP loan application for Elemental Comfort LLC was submitted,
defendants MAHEE, BURGE, and ALEXANDER, together with Mason, knew that the
application attached Forms 941 that had never been filed with the IRS.
   46.Throughout the conspiracy, defendants MAHEE, BURGE, and ALEXANDER,
together with Mason, utilized interstate wires to submit, assist in the submission,
and communicate about the submission of false documents to Financial
Institution 1 when applying for a PPP loan, including fabricated IRS Forms 941
listing falsified payroll information and false loan documentation that listed false
payroll information, false employment information, and a false purpose for the
loan funding.
   47.As a result of and based on the fraudulent and false representations and
submissions made by defendants MAHEE, BURGE, and ALEXANDER, together with
Mason, Financial Institution 1 distributed the loan proceeds of the Elemental
Comfort LLC loan as described in paragraph 29.
All in violation of Title 18, United States Code, Section 1349.
                           Counts Three through Eight
                           Wire Fraud - 18 U.S.C. § 1343
                     (Defendants MAHEE, BURGE, and ALEXANDER)
   48.The Grand Jury re-alleges and incorporates by reference the factual
allegations contained in paragraphs 1 through 31,34 through 37, and 40 through
47, of this Indictment as if fully set forth herein.
   49.On or about the dates listed in Column C, in the Northern District of
Georgia and elsewhere, the defendants listed in Column B, aided and abetted by
each other, Mark Mason, and other persons known and unknown to the Grand

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Jury, for the purpose of executing and attempting to execute the aforementioned
scheme and artifice to defraud, and to obtain money and property by means of
materially false and fraudulent pretenses, representations, and promises, and by
omission of material facts, knowing and having reason to know that the pretense,
representation, promise, and omission was and would be material, did, with
intent to defraud, cause to be transmitted by means of a wire communication in
interstate and foreign commerce certain writings, signs, and signals - that is, the
electronic transmissions listed in Column D.


  A         B                    C                           D
 Count Defendant(s)           Date         Description of Wire Transmission
                          (on or about)
 Three MAHEE              April 4, 2020 Email from defendant MAHEE to
       BURGE                             Mason and defendant BURGE, Bcc:
       ALEXANDER                         defendant ALEXANDER, with the
                                         subject "Fwd: Dirty South Hip Hop
                                         SSS," in which defendant MAT-TEE
                                         provided figures for the monthly
                                         payroll costs for Elemental Comfort
                                         LLC and attached a blank PPP
                                         borrower application form.
  Four    MAHEE           April 7, 2020 Email from defendant BURGE to Mason
          BURGE                          and defendant MAHEE, with the
                                         subject "Re: Updated Form," in which
                                         defendant BURGE attached a
                                         completed PPP Borrower Form
                                         application for Elemental Comfort
                                         LLC.
  Five    MAHEE           April 10, 2020 Email from Mason to defendant
                                         MAHEE, with the subject "941 for
                                         Elemental Comfort," in which Mason
                                         attached a blank, fillable Form 941 and
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                                          a spreadsheet labeled "Elemental
                                          Comfort Payroll.xlsx."
   Six    MAHEE            April 11, 2020 Email from defendant MAHEE to
          ALEXANDER                       Mason, Bcc: defendant ALEXANDER
                                          and others, with the subject
                                          "Elemental Comfort f941 2020 Q1-2,
                                          2019 Q2-4," in which defendant
                                          MAHEE attached Forms 941 created for
                                          Elemental Comfort.
 Seven BURGE               April 13, 2020 Email from Mason to defendant
                                          BURGE, with the subject "Re:
                                          HIGHEST PRIORITY David Burge
                                          Family," in which Mason asked
                                          defendant BURGE to forward the email
                                          he was about to receive from Financial
                                          Institution 1 to access the online
                                          application portal.
  Eight   BURGE            April 13, 2020 Email from defendant BURGE to
                                          Mason, with the subject "Fwd: Your
                                          Application," in which defendant
                                          BURGE forwarded the link to the
                                          Financial Institution 1 online
                                          application portal.
All in violation of Title 18, United States Code, Section 1343 and Section 2.
                                     Count Nine
                 Conspiracy to Commit Wire Fraud - 18 U.S.C. § 1349
                         (Defendants MAHEE and DESTITO)
   50. The Grand Jury re-alleges and incorporates by reference the factual
allegations contained in paragraphs 1 through 31 and 34 through 37 of this
Indictment as if fully set forth herein.




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   51.From on or about April 3, 2020 through on or about July 3, 2020, the exact
dates unknown, in the Northern District of Georgia and elsewhere, the
Defendants,
                              RICHARD MAHEE, and
                                 GINA DESTITO,
did knowingly and willfully combine, conspire, confederate, agree, and have a
tacit understanding with each other, Mark Mason, and others known and
unknown to the Grand Jury, to devise and intend to devise a scheme and artifice
to defraud, and to obtain money and property, by means of materially false and
fraudulent pretenses, representations, and promises, and by the omission of
material facts, well knowing and having reason to know that said pretenses were
and would be false and fraudulent when made and caused to be made and that
said omissions were and would be material, and, in doing so, caused interstate
and foreign wire communications to be made, in furtherance of the scheme and
artifice to defraud, in violation of Title 18, United States Code, Section 1343.
                                Manner and Means
   52.Defendants MAHEE and DESTITO, together with Mason and others known
and unknown to the Grand Jury, conspired to submit false materials, such as a
false PPP loan application and false IRS Forms 941, to Financial Institution 1 to
obtain PPP loan funding.
   53.As part of the conspiracy, defendants MAHEE and DESTITO, together with
Mason, submitted false documents to Financial Institution 1 when applying for a
PPP loan on behalf of HomePoppins.com LLC, including fabricated IRS Forms
941 listing falsified payroll information. Mason created the falsified Forms 941 on

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 behalf of defendant DESTITO. The Forms 941 that Mason created, which had

 never been filed with the IRS, were submitted in support of the PPP loan

 application. The purpose of the false Forms 941 was to circumvent Financial

 Institution l's requirement that prospective borrowers submit Forms 941 to

 support the payroll figures that served as the basis for PPP loan amounts.

    54. The fabricated Forms 941 reflected the following payroll figures for 2019

 and 2020:

     Business          Q1 2019       Q2 2019       Q3 2019       Q4 2019        Q1 2020
                      Jan - Mar     Apr - Jun     Jul - Sep     Oct - Dec     Jan - Mar
HONEEPOPPINS.COM    3 employees   3 employees   3 employees   3 employees    2 employees
LLC                 $94,791.00    $96,061.00    $96,670.00    $96,189.00     $85,624.00


    55.In fact, in 2019 and 2020, HomePoppins.com LLC did not: (1) make any tax

 filings with the IRS, (2) pay unemployment tax to the IRS, or (3) withhold federal

 income tax for any employee.

    56. In addition, Mason created and submitted falsified payroll documentation

 for HomePoppins.com LLC, including purported payroll spreadsheets and a

 purported payroll calculator.

    57.When the PPP loan application for HomePoppins.com LLC was submitted,

 defendants MAHEE and DESTITO, together with Mason, knew that the application

 attached Forms 941 that had never been filed with the IRS.

    58. Throughout the conspiracy, defendants MAHEE and DESTITO, together with

 Mason, utilized interstate wires to submit, assist in the submission, and

 communicate about the submission of false documents to Financial Institution 1

 when applying for a PPP loan, including fabricated IRS Forms 941 listing

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falsified payroll information and false loan documentation that listed false
payroll information, false employment information, and a false purpose for the
loan funding.
   59.As a result of and based on the fraudulent and false representations and
submissions made by defendants MAHEE and DESTITO, together with Mason,
Financial Institution 1 distributed the loan proceeds of the Home Poppins LLC
loan as described in paragraph 29.
All in violation of Title 18, United States Code, Section 1349.
                            Counts Ten Through Thirteen
                            Wire Fraud - 18 U.S.C. § 1343
                           (Defendants MAHEE and DESTITO)
   60.The Grand Jury re-alleges and incorporates by reference the factual
allegations contained in paragraphs 1 through 31,34 through 37, and 52 through
59 of this Indictment as if fully set forth herein.
   61.On or about the dates listed in Column C, in the Northern District of
Georgia and elsewhere, the defendants listed in Column B, aided and abetted by
each other, Mark Mason, and other persons known and unknown to the Grand
Jury, for the purpose of executing and attempting to execute the aforementioned
scheme and artifice to defraud, and to obtain money and property by means of
materially false and fraudulent pretenses, representations, and promises, and by
omission of material facts, knowing and having reason to know that the pretense,
representation, promise, and omission was and would be material, did, with
intent to defraud, cause to be transmitted by means of a wire communication in


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interstate and foreign commerce certain writings, signs, and signals - that is, the
electronic transmissions listed in Column D.
     A             B                C                          D
  Count Defendant(s)               Date       Description of Wire Transmission
                              (on or about)
    Ten      MAHEE            April 3, 2020 Email from defendant MAHEE to
             DESTITO                         Mason and defendant DESTITO,
                                             with the subject "Fwd: PPP New
                                             Changed and Application," in
                                             which defendant MAHEE
                                             introduced defendant DESTITO to
                                             Mason for a PPP loan and attached
                                             a blank PPP application.
  Eleven DESTITO              April 6, 2020 Email from Mason to defendant
                                             DESTITO, with the subject "RE: IRS
                                             FIN Form or other," in which
                                             Mason wrote, "Ok, we will find a
                                             work around," and requested
                                             additional documents to support
                                             the PPP loan application.
  Twelve MAHEE                April 8, 2020 Email from defendant DESTITO to
             DESTITO                         Mason, and defendant MAHEE,
                                             with the subject "Latest Form for
                                             SBA," in which defendant DESTITO
                                             attached a document labeled "PPP
                                             Borrower Application Form
                                             REVISED 4-6-20 copy.pdf."
 Thirteen DESTITO            April 17, 2020 Email from defendant DESTITO to
                                             Mason, with the subject "Re: PPP
                                             Link" in which defendant DESTITO
                                             forwarded the link to the Financial
                                             Institution 1 online application
                                             portal.
All in violation of Title 18, United States Code, Section 1343 and Section 2.


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                                  Count Fourteen
                 Conspiracy to Commit Wire Fraud - 18 U.S.C. § 1349
                          (Defendants MAHEE and WHITE)
   62.The Grand Jury re-alleges and incorporates by reference the factual
allegations contained in paragraphs 1 through 31 and 34 through 37, of this
Indictment as if fully set forth herein.
   63.From on or about April 7, 2020 through on or about July 7, 2020, the exact
dates unknown, in the Northern District of Georgia and elsewhere, the
Defendants,
                               RICHARD MAHEE, and
                                    JIM WHITE

did knowingly and willfully combine, conspire, confederate, agree, and have a
tacit understanding with each other, Mark Mason, and others known and
unknown to the Grand Jury, to devise and intend to devise a scheme and artifice
to defraud, and to obtain money and property, by means of materially false and
fraudulent pretenses, representations, and promises, and by the omission of
material facts, well knowing and having reason to know that said pretenses were
and would be false and fraudulent when made and caused to be made and that
said omissions were and would be material, and, in doing so, caused interstate
and foreign wire communications to be made, in furtherance of the scheme and
artifice to defraud, in violation of Title 18, United States Code, Section 1343.
                                Manner and Means
   64.Defendants MAHEE and WHITE, together with Mason and others known
and unknown to the Grand Jury, conspired to submit false materials, such as a


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 false PPP loan application and false IRS Forms 941, to Financial Institution 1 to
 obtain PPP loan funding.
    65.As part of the conspiracy, defendants MAHEE and WHITE, together with
 Mason, submitted false documents to Financial Institution 1 when applying for a
 PPP loan on behalf of AJW Home Services and Design LLC, including fabricated
 IRS Forms 941 listing falsified payroll information. Mason created the falsified
 Forms 941 on behalf of defendant WHITE. The Forms 941 that Mason created,
 which had never been filed with the IRS, were submitted in support of the PPP
 loan application. The purpose of the false Forms 941 was to circumvent Financial
 Institution l's requirement that prospective borrowers submit Forms 941 to
 support the payroll figures that served as the basis for PPP loan amounts.
    66.The fabricated Forms 941 reflected the following payroll figures for 2019
 and 2020:
    Business           Q1 2019      Q2 2019       Q3 2019      Q4 2019       Q1 2020
                      Jan-Mar       Apr-Jun       Jul-Sep      Oct-Dec      Jan-Mar
AJW HOME SERVICES   5 employees    5 employees   5 employees 5 employees 5 employees
AND DESIGN LLC      S55,536.00     S55,536.00    $55,536.00  $55,536.00  S49,566.00

    67.In fact, in 2019, AJW Home Services and Design LLC did not: (1) file any
 Forms 941 with the IRS, (2) pay unemployment tax to the IRS, or (3) withhold
 federal income tax for any employee.
    68.In addition, Mason created and submitted falsified payroll documentation
 for AJW Home Services and Design LLC, including purported payroll
 spreadsheets and a purported payroll calculator.



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   69.When the PPP loan application for AJW Home Services and Design LLC
was submitted, defendants MAHEE and WHITE, together with Mason, knew that
the application attached Forms 941 that had never been filed with the IRS.
   70.Throughout the conspiracy, defendants MAHEE and WHITE, together with
Mason, utilized interstate wires to submit, assist in the submission, and
communicate about the submission of false documents to Financial Institution 1
when applying for a PPP loan, including fabricated IRS Forms 941 listing
falsified payroll information and false loan documentation that listed false
payroll information, false employment information, and a false purpose for the
loan funding.
   71.As a result of and based on the fraudulent and false representations and
submissions made by defendants MAHEE and WHITE, together with Mason,
Financial Institution 1 distributed the loan proceeds of the AJW Home Services
and Design LLC loan as described in paragraph 29.
All in violation of Title 18, United States Code, Section 1349.
                            Counts Fifteen through Twenty
                            Wire Fraud - 18 U.S.C. § 1343
                            (Defendants MAHEE and WHITE)
   72.The Grand Jury re-alleges and incorporates by reference the factual
allegations contained in paragraphs 1 through 31,34 through 37, and 64 through
71 of this Indictment as if fully set forth herein.
   73.On or about the dates listed in Column C, in the Northern District of
Georgia and elsewhere, the defendants listed in Column B, aided and abetted by
each other, Mark Mason, and other persons known and unknown to the Grand

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Jury, for the purpose of executing and attempting to execute the aforementioned
scheme and artifice to defraud, and to obtain money and property by means of
materially false and fraudulent pretenses, representations, and promises, and by
omission of material facts, knowing and having reason to know that the pretense,
representation, promise, and omission was and would be material, did, with
intent to defraud, cause to be transmitted by means of a wire communication in
interstate and foreign commerce certain writings, signs, and signals - that is, the
electronic transmissions listed in Column D.
      A             B                C                          D
    Count      Defendant(s)        Date                Description of Wire
                               (on or about)              Transmission
   Fifteen MAHEE              April 7, 2020 Email from defendant MAHEE to
              WHITE                          Mason and defendant WHITE, with
                                             the subject, "Fwd: SBA Follow
                                             Up," in which defendant MAHEE
                                             attached a blank PPP borrower
                                             application form and wrote, "Jim,
                                             fill this out and give me your
                                             payroll amounts. Lets work to get
                                             you some capital. Mark will
                                             assist."
   Sixteen MAHEE              April 10, 2020 Email from defendant WHITE to
              WHITE                          Mason, defendant MAHEE, and
                                             another individual, with the
                                             subject "Payroll Protection
                                             Program Form," in which
                                             defendant WHITE attached a
                                             completed and signed PPP
                                             borrower application form.
 Seventeen MAHEE              April 10, 2020 Email from defendant WHITE to
              WHITE                          Mason, defendant MAHEE, and
                                             another individual, with the
                                             subject "Re: Payroll Protection
                                         25
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                                             Program Form," in which
                                             defendant WHITE wrote, "I never
                                             filed a 914 form. Also the payroll
                                             Numbers I entered on the form
                                             would be for the payroll of the
                                             future project we are working on
                                             with Richard and Michael. Please
                                             advise what I would need to
                                             change on that form or how to
                                             proceed. Thank you very much."
 Eighteen     MAHEE           April 10, 2020 Email from Mason to defendants
              WHITE                          WHITE and MAHEE, and another
                                             individual, with the subject "Re:
                                             Payroll Protection Program Form,"
                                             in which Mason wrote, "We got it.
                                             No worries."
 Nineteen MAHEE               April 14, 2020 Email from defendant WHITE to
          WHITE                              Mason, defendant MAHEE, and
                                             another individual, with the
                                             subject "Fwd: Your Application,"
                                             in which defendant WHITE
                                             forwarded the link to the Financial
                                             Institution 1 online application
                                             portal.
  Twenty      WHITE           June 9, 2020   Email from defendant WHITE to
                                             Mason, with the subject "Fwd:
                                             Your Application," in which
                                             defendant WHITE forwarded the
                                             link to the Financial Institution 1
                                             online application portal.
All in violation of Title 18, United States Code, Section 1343 and Section 2.




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                                 Count Twenty-One
                 Conspiracy to Commit Wire Fraud - 18 U.S.C. § 1349
                       (Defendants MAHEE and ALEXANDER)
   74.The Grand Jury re-alleges and incorporates by reference the factual
allegations contained in paragraphs 1 through 31 and 34 through 37, of this
Indictment as if fully set forth herein.
   75.From on or about April 10, 2020 through on or about May 14, 2020, the
exact dates unknown, in the Northern District of Georgia and elsewhere, the
Defendants,
                               RICHARD MAHEE, and
                               KRISTEN ALEXANDER
did knowingly and willfully combine, conspire, confederate, agree, and have a
tacit understanding with each other, Mark Mason, and others known and
unknown to the Grand Jury, to devise and intend to devise a scheme and artifice
to defraud, and to obtain money and property, by means of materially false and
fraudulent pretenses, representations, and promises, and by the omission of
material facts, well knowing and having reason to know that said pretenses were
and would be false and fraudulent when made and caused to be made and that
said omissions were and would be material, and, in doing so, caused interstate
and foreign wire communications to be made, in furtherance of the scheme and
artifice to defraud, in violation of Title 18, United States Code, Section 1343.
                                Manner and Means
   76.Defendants MAHEE and ALEXANDER, together with Mason arid others
known and unknown to the Grand Jury, conspired to submit false materials,


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such as a false PPP loan application and false IRS Forms 941, to Financial
Institution 1 to obtain PPP loan funding.
   77.As part of the conspiracy, defendants MAHEE and ALEXANDER, together
with Mason, submitted false documents to Financial Institution 1 when applying
for a PPP loan on behalf of ARG Media LLC, including fabricated IRS Forms 941
listing falsified payroll information. Mason created the falsified Forms 941 on
behalf of defendant MAHEE. The Forms 941 that Mason created, which had never
been filed with the IRS, were submitted in support of the PPP loan application.
The purpose of the false Forms 941 was to circumvent Financial Institution l's
requirement that prospective borrowers submit Forms 941 to support the payroll
figures that served as the basis for PPP loan amounts.
   78.The fabricated Forms 941 reflected the following payroll figures for 2019:

               Business                   Q3 2019       Q4 2019
                                         Jul-Sep      Oct-Dec
               ARG MEDIA LLC           20 employees 20 employees
                                       $514,686.00  S521,556.00
   79.In fact, m 2019, ARG Media LLC did not: (1) file any Forms 941 claiming
wages with the IRS, (2) pay unemployment tax to the IRS, or (3) withhold federal
income tax for any employee.
   80.When the PPP loan application for ARG Media LLC was submitted,
defendants MAHEE and ALEXANDER, together with Mason, knew that the
application attached Forms 941 that had never been filed with the IRS.
   81.Throughout the conspiracy, defendants MAHEE and ALEXANDER, together
with Mason, utilized interstate wires to submit, assist in the submission, and

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communicate about the submission of false documents to Financial Institution 1
when applying for a PPP loan, including fabricated IRS Forms 941 listing
falsified payroll information and false loan documentation that listed false
payroll information, false employment information, and a false purpose for the
loan funding.
   82.As a result of and based on the fraudulent and false representations and
submissions made by defendants MAHEE and ALEXANDER, together with Mason,
Financial Institution 1 distributed the loan proceeds of the ARG Media LLC loan
as described in paragraph 29.
All in violation of Title 18, United States Code, Section 1349.
                       Counts Twenty-Two through Twenty-Six
                           Wire Fraud - 18 U.S.C. § 1343
                         (Defendants MAHEE and ALEXANDER)
   83.The Grand Jury re-alleges and incorporates by reference the factual
allegations contained in paragraphs 1 through 31,34 through 37, and 76 through
82, of this Indictment as if fully set forth herein.
   84.On or about the dates listed in Column C, in the Northern District of
Georgia and elsewhere, the defendants listed in Column B, aided and abetted by
each other, Mark Mason, and other persons known and unknown to the Grand
Jury, for the purpose of executing and attempting to execute the aforementioned
scheme and artifice to defraud, and to obtain money and property by means of
materially false and fraudulent pretenses, representations, and promises, and by
omission of material facts, knowing and having reason to know that the pretense,
representation, promise, and omission was and would be material, did, with

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intent to defraud, cause to be transmitted by means of a wire communication in
interstate and foreign commerce certain writings, signs, and signals - that is, the
electronic transmissions listed in Column D.
     A             B                 C                         D
   Count Defendant(s)              Date              Description of Wire
                              (on or about)             Transmission
  Twenty- MAHEE               April 10, 2020 Email from Mason to defendant
    Two                                      MAHEE, with the subject "941
                                             Forms for ARG," in which Mason
                                             attached spreadsheets labeled (1)
                                             ARG Media Holdings XX-XXXXXXX
                                             Payroll.xlsx; (2) ARG Media
                                             payroll.xlsx; and (3) P3 Mahvrick
                                             XX-XXXXXXX Payroll.xlsx.
  Twenty- MAHEE               April 11, 2020 Email from defendant MAHEE to
   Three      ALEXANDER                      Mason, Bcc: defendant
                                             ALEXANDER and others, with the
                                             subject "ARG Holdings 941 Q3 Q4
                                             2019, Q1 Q2 2020," in which
                                             MAHEE attached Forms 941
                                             created for ARG Media for Q3
                                             2019, Q4 2019, Q1 2020, and Q2
                                             2020.
 Twenty- MAHEE                April 12, 2020 Email from defendant MAHEE to
   Four                                      Mason, with the subject "ARG
                                             Media f941," in which defendant
                                             MAHEE attached Forms 941
                                             created for ARG Media for Q1
                                             2020 and Q2 2020.
 Twenty- MAHEE               April 12, 2020 Email from Mason to defendant
    Five                                     MAHEE, with the subject "Sign
                                             PPP App and Return," in which
                                             Mason attached a completed PPP
                                             Application form for ARG Media
                                             that had not been signed or
                                             initialed.
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 Twenty- MAHEE                April 14, 2020    Email from defendant MAHEE to
   Six   ALEXANDER                              Mason, Bcc: defendant
                                                ALEXANDER and others, subject
                                                "My [Financial Institution 1] Link
                                                Opens Like I have submitted," in
                                                which defendant MAHEE attached
                                                screenshots from the application
                                                page from Financial Institution 1.
All in violation of Title 18, United States Code, Section 1343 and Section 2.
                                 Count Twenty-Seven
                 Conspiracy to Commit Wire Fraud - 18 U.S.C. § 1349
                  (Defendants MAHEE, ALEXANDER, and BROWN)
   85.The Grand Jury re-alleges and incorporates by reference the factual
allegations contained in paragraphs 1 through 31 and 34 through 37 of this
Indictment as if fully set forth herein.
   86.From on or about April 2, 2020 through on or about June 3, 2020, the exact
dates unknown, in the Northern District of Georgia and elsewhere, the
Defendants,
                                RICHARD MAHEE,
                            KRISTEN ALEXANDER, AND
                                MORGAN BROWN
did knowingly and willfully combine, conspire, confederate, agree, and have a
tacit understanding with each other, Mark Mason, and others known and
unknown to the Grand Jury, to devise and intend to devise a scheme and artifice
to defraud, and to obtain money and property, by means of materially false and
fraudulent pretenses, representations, and promises, and by the omission of
material facts, well knowing and having reason to know that said pretenses were
and would be false and fraudulent when made and caused to be made and that

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said omissions were and would be material, and, in doing so, caused interstate
and foreign wire communications to be made, in furtherance of the scheme and
artifice to defraud, in violation of Title 18, United States Code, Section 1343.
                                Manner and Means
   87.Defendants MAT-TEE, ALEXANDER, and BROWN, together with Mason and
others known and unknown to the Grand Jury, conspired to submit false
materials, such as a false PPP loan application and false IRS Forms 941, to
Financial Institution 1 to obtain PPP loan funding.
   88.As part of the conspiracy, defendants MAHEE, ALEXANDER, and BROWN,
together with Mason, submitted false documents to Financial Institution 1 when
applying for a PPP loan on behalf of BHG LLC, including fabricated IRS Forms
941 listing falsified payroll information. Mason created the falsified Forms 941 on
behalf of defendant BROWN. The Forms 941 that Mason created, which had never
been filed with the IRS, were submitted in support of the PPP loan application.
The purpose of the false Forms 941 was to circumvent Financial Institution l's
requirement that prospective borrowers submit Forms 941 to support the payroll
figures that served as the basis for PPP loan amounts.
   89.The fabricated Forms 941 reflected the following payroll figures for 2019:

        Business         Q1 2019        Q2 2019     Q3 2019    Q4 2019
                        Jan - Mar      Apr - Jun   Jul - Sep  Oct - Dec
     BHG LLC          6 employees    6 employees 6 employees 6 employees
                       70,000.00     570,000.00  $70,000.00  S70,000.00




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   90.In fact, in 2019, BHG LLC did not: (1) file any Forms 941 with the IRS, (2)
pay unemployment tax to the IRS, or (3) withhold federal income tax for any
employee.
   91.In addition, Mason created and submitted falsified payroll documentation
for BHG LLC, including a purported payroll calculator.
   92.When the PPP loan application for BHG LLC was submitted, defendants
MAHEE, ALEXANDER, and BROWN, together with Mason, knew that the
application attached Forms 941 that had never been filed with the IRS.
   93.Throughout the conspiracy, defendants MAHEE, ALEXANDER, and BROWN,
together with Mason, utilized interstate wires to submit, assist in the submission,
and communicate about the submission of false documents to Financial
Institution 1 when applying for a PPP loan, including fabricated IRS Forms 941
listing falsified payroll information and false loan documentation that listed false
payroll information, false employment information, and a false purpose for the
loan funding.
   94.As a result of and based on the fraudulent and false representations and
submissions made by defendants MAHEE, ALEXANDER, and BROWN, together
with Mason, Financial Institution 1 distributed the loan proceeds of the BHG
LLC loan as described in paragraph 29.
All in violation of Title 18, United States Code, Section 1349.




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                     Counts Twenty-Eight through Thirty-Four
                          Wire Fraud - 18 U.S.C. § 1343
                    (Defendants MAHEE, ALEXANDER, and BROWN)
   95.The Grand Jury re-alleges and incorporates by reference the factual
allegations contained in paragraphs 1 through 31,34 through 37, and 87 through
94, of this Indictment as if fully set forth herein.
   96.On or about the dates listed in Column C, in the Northern District of
Georgia and elsewhere, the defendants listed in Column B, aided and abetted by
each other, Mark Mason, and other persons known and unknown to the Grand
Jury, for the purpose of executing and attempting to execute the aforementioned
scheme and artifice to defraud, and to obtain money and property by means of
materially false and fraudulent pretenses, representations, and promises, and by
omission of material facts, knowing and having reason to know that the pretense,
representation, promise, and omission was and would be material, did, with
intent to defraud, cause to be transmitted by means of a wire communication in
interstate and foreign commerce certain writings, signs, and signals - that is, the
electronic transmissions listed in Column D
     A             B                C                         D
   Count Defendant(s)              Date     Description of Wire Transmission
                              (on or about)
  Twenty- MAHEE              April 2, 2020  Email from defendant MAHEE to
   Eight      ALEXANDER                     Mason, and defendants
              BROWN                         ALEXANDER and BROWN, with the
                                            subject "Fwd: Signed," which
                                            attached an electronically signed
                                            copy of a PPP Application
                                            certifications and signature page.
  Twenty- MAHEE              April 10, 2020 Email from Mason to defendant
   Nine                                     MAHEE, with the subject "941-2019
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                                         Quarterly," in which Mason
                                         attached completed Forms 941 for
                                         Atlanta Business Capital, a blank
                                         and fillable Form 941, and a
                                         spreadsheet labeled "Brown House
                                         Group LLC (BHG LLC) Payroll."
Thirty    MAHEE         April 11, 2020   Email from defendant MAHEE to
          ALEXANDER                      Mason, Bcc: defendant ALEXANDER,
                                         with the subject "BHG LLC," in
                                         which MAHEE attached Forms 941
                                         for BHG LLC for Q4 2019, Q1 2020,
                                         and Q2 2020.
Thirty-   BROWN         April 15, 2020   Email from defendant BROWN to
 One                                     Mason, with the subject "Fwd:
                                         Your Application," in which
                                         defendant BROWN forwarded the
                                         link to the Financial Institution 1
                                         online application portal.
Thirty-   BROWN         April 15, 2020   Email from Mason to defendant
 Two                                     BROWN, with the subject "Re: Email
                                         for PPP," in which Mason attached
                                         a blank PPP borrower application
                                         form and wrote, "Morgan can you
                                         complete this application ASAP."
Thirty-   MAHEE         April 15, 2020   Email from defendant MAHEE to
Three     BROWN                          Mason and defendant BROWN, with
                                         the subject "BHG Payroll," in
                                         which defendant MAHEE listed
                                         BHG LLC's monthly salaries for six
                                         employees, including himself and
                                         defendants BROWN and
                                         ALEXANDER.
Thirty-   BROWN         April 15, 2020   Email from defendant BROWN to
 Four                                    Mason, with the subject "Re: Email
                                         for PPP," in which defendant
                                         BROWN attached a completed
                                         Borrower Application form for

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                                                BHG LLC labeled "Signed SBA for
                                                Mark."
All in violation of Title 18, United States Code, Section 1343 and Section 2.
                                  Count Thirty-Five
                 Conspiracy to Commit Wire Fraud - 18 U.S.C. § 1349
                         (Defendants MAHEE and STEPHENS)
   97.The Grand Jury re-alleges and incorporates by reference the factual
allegations contained in paragraphs 1 through 31 and 34 through 37 of this
Indictment as if fully set forth herein.
   98.From on or about April 7, 2020 through on or about May 26, 2020, the exact
dates unknown, in the Northern District of Georgia and elsewhere, the
Defendants,
                              RICHARD MAHEE, AND
                                CARLOS STEPHENS
did knowingly and willfully combine, conspire, confederate, agree, and have a
tacit understanding with each other, Mark Mason, and others known and
unknown to the Grand Jury, to devise and intend to devise a scheme and artifice
to defraud, and to obtain money and property, by means of materially false and
fraudulent pretenses, representations, and promises, and by the omission of
material facts, well knowing and having reason to know that said pretenses were
and would be false and fraudulent when made and caused to be made and that
said omissions were and would be material, and, in doing so, caused interstate
and foreign wire communications to be made, in furtherance of the scheme and
artifice to defraud, in violation of Title 18, United States Code, Section 1343.



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                               Manner and Means
   99.Defendants MAHEE and STEPHENS, together with Mason and others known
and unknown to the Grand Jury, conspired to submit false materials, such as a
false PPP loan application and false IRS Forms 941, to Financial Institution 1 to
obtain PPP loan funding.
   100. As part of the conspiracy, defendants MAHEE and STEPHENS, together
with Mason, submitted false documents to Financial Institution 1 when applying
for a PPP loan on behalf of 31 Minds LLC, including fabricated IRS Forms 941
listing falsified payroll information. Mason created the falsified Forms 941 on
behalf of defendant STEPHENS. The Forms 941 that Mason created, which had
never been filed with the IRS, were submitted in support of the PPP loan
application. The purpose of the false Forms 941 was to circumvent Financial
Institution l's requirement that prospective borrowers submit Forms 941 to
support the payroll figures that served as the basis for PPP loan amounts.
  101. The fabricated Forms 941 reflected the following payroll figures for
2019:

          Business        Q1 2019     Q2 2019        Q3 2019    Q4 2019
                         Jan - Mar   Apr - Jun      Jul - Sep  Oct - Dec
        31 MINDS LLC   4 employees 4 employees    4 employees 4 employees
                        46,500.00  S46,500.00     S46,500.00  S46,500.00
  102. In fact, in 2019, 31 Minds LLC did not: (1) make any tax filings with the
IRS, (2) pay unemployment tax to the IRS, or (3) withhold federal income tax for
any employee.



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   103. In addition, Mason created and submitted falsified payroll
documentation for 31 Minds LLC, including a purported payroll calculator
listing 31 Minds LLC's average monthly payroll as S23,833 and the requested
loan amount as $59,583.
   104. When the PPP loan application for 31 Minds LLC was submitted,
defendants MAHEE and STEPHENS, together with Mason, knew that the
application attached Forms 941 that had never been filed with the IRS.
   105. Throughout the conspiracy, defendants MAHEE and STEPHENS, together
with Mason, utilized interstate wires to submit, assist in the submission, and
communicate about the submission of false documents to Financial Institution 1
when applying for a PPP loan, including fabricated IRS Forms 941 listing
falsified payroll information and false loan documentation that listed false
payroll information, false employment information, and a false purpose for the
loan funding.
   106. As a result of and based on the fraudulent and false representations and
submissions made by defendants MAHEE and STEPHENS, together with Mason,
Financial Institution 1 distributed the loan proceeds of the 31 Minds LLC loan as
described in paragraph 29.
All in violation of Title 18, United States Code, Section 1349.




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                        Counts Thirty-Six through Thirty-Eight
                           Wire Fraud - 18 U.S.C. § 1343
                          (Defendants MAT-TEE and STEPHENS)
   107. The Grand Jury re-alleges and incorporates by reference the factual
allegations contained in paragraphs 1 through 31,34 through 37, and 99 through
106, of this Indictment as if fully set forth herein.
   108. On or about the dates listed in Column C, in the Northern District of
Georgia and elsewhere, the defendants listed in Column B, aided and abetted by
each other, Mark Mason, and other persons known and unknown to the Grand
Jury, for the purpose of executing and attempting to execute the aforementioned
scheme and artifice to defraud, and to obtain money and property by means of
materially false and fraudulent pretenses, representations, and promises, and by
omission of material facts, knowing and having reason to know that the pretense,
representation, promise, and omission was and would be material, did, with
intent to defraud, cause to be transmitted by means of a wire communication in
interstate and foreign commerce certain writings, signs, and signals - that is, the
electronic transmissions listed in Column D.
     A            B                 C                         D
   Count Defendant(s)             Date       Description of Wire Transmission
                              (on or about)
  Thirty- MAHEE              April 7, 2020  Email from defendant MAHEE to
    Six      STEPHENS                        Mason and defendant STEPHENS,
                                            with the subject "Carlos Stephens,"
                                            in which defendant MAHEE
                                            attached a blank PPP borrower
                                            application form, listed a series of
                                            expenses, and instructed defendant
                                            STEPHENS to complete the form and
                                            return it to Mason and himself.
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  Thirty-     MAHEE           April 9, 2020     Email from defendant STEPHENS to
  Seven       STEPHENS                          Mason and defendant MAHEE, with
                                                the subject "Re: Carlos Stephens,"
                                                in which defendant STEPHENS
                                                attached a completed and signed
                                                PPP borrower application form and
                                                a letter from the IRS assigning 31
                                                Minds LLC an Employer
                                                Identification Number.
  Thirty-     STEPHENS       April 14, 2020     Email from defendant STEPHENS to
   Eight                                        Mason, with the subject "Fwd: Your
                                                Application," in which defendant
                                                STEPHENS forwarded the link to the
                                                Financial Institution 1 online
                                                application portal.
All in violation of Title 18, United States Code, Section 1343 and Section 2.
                                  Count Thirty-Nine
                 Conspiracy to Commit Wire Fraud - 18 U.S.C. § 1349
                         (Defendants MAHEE and LEWTON)
   109. The Grand Jury re-alleges and incorporates by reference the factual
allegations contained in paragraphs 1 through 31 and 34 through 37, of this
Indictment as if fully set forth herein.
   110. From on or about April 3, 2020 through on or about June 9, 2020, the
exact dates unknown, in the Northern District of Georgia and elsewhere, the
Defendants,
                           RICHARD MAHEE, AND
                    MARVIN LEWTON, A/K/A "SHADI POWERS,"
did knowingly and willfully combine, conspire, confederate, agree, and have a
tacit understanding with each other, Mark Mason, and others known and
unknown to the Grand Jury, to devise and intend to devise a scheme and artifice

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to defraud, and to obtain money and property, by means of materially false and
fraudulent pretenses, representations, and promises, and by the omission of
material facts, well knowing and having reason to know that said pretenses were
and would be false and fraudulent when made and caused to be made and that
said omissions were and would be material, and, in doing so, caused interstate
and foreign wire communications to be made, in furtherance of the scheme and
artifice to defraud, in violation of Title 18, United States Code, Section 1343.
                                Manner and Means
   111. Defendants MAHEE and LEWTON, together with Mason and others
known and unknown to the Grand Jury, conspired to submit false materials,
such as a false PPP loan application and false IRS Forms 941, to Financial
Institution 1 to obtain PPP loan funding.
   112. As part of the conspiracy, defendants MAHEE and LEVVTON, together
with Mason, submitted false documents to Financial Institution 1 when applying
for a PPP loan on behalf of Powers Transport Group LLC, including fabricated
IRS Forms 941 listing falsified payroll information. Mason created the falsified
Forms 941 on behalf of defendant LEWTON. The Forms 941 that Mason created,
which had never been filed with the IRS, were submitted in support of the PPP
loan application. The purpose of the false Forms 941 was to circumvent Financial
Institution l's requirement that prospective borrowers submit Forms 941 to
support the payroll figures that served as the basis for PPP loan amounts.
  113. The fabricated Forms 941 reflected the following payroll figures for
2019 and 2020:

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     Business          Q1 2019      Q2 2019     Q3 2019     Q4 2019     Q1 2020
                     Jan-Mar       Apr-Jun     Jul-Sep     Oct-Dec Jan-Mar
POWERS TRANSPORT    4 employees   4 employees 4 employees 4 employees 2 employees
GROUP LLC           $69,508.00    $70,564.00  $68,257.00  $68,257.00  S59,363.00
   114. In fact, during 2019 and the first quarter of 2020, Powers Transport
Group LLC did not: (1) make any tax filings with the IRS, (2) pay unemployment
tax to the IRS, or (3) withhold federal income tax for any employee.
   115. In addition, Mason created and submitted falsified payroll
documentation for Powers Transport Group LLC, including purported payroll
spreadsheets and a purported payroll calculator.
   116. When the PPP loan application for Powers Transport Group LLC was
submitted, defendants MAHEE and LEWTON, together with Mason, knew that the
application attached Forms 941 that had never been filed with the IRS.
   117. Throughout the conspiracy, defendants MAHEE and LEWTON, together
with Mason, utilized interstate wires to submit, assist in the submission, and
communicate about the submission of false documents to Financial Institution 1
when applying for a PPP loan, including fabricated IRS Forms 941 listing
falsified payroll information and false loan documentation that listed false
payroll information, false employment information, and a false purpose for the
loan funding.
   118. As a result of and based on the fraudulent and false representations and
submissions made by defendants MAHEE and LEwToN, together with Mason,
Financial Institution 1 distributed the loan proceeds of the Powers Transport
Group LLC loan as described in paragraph 29.
All in violation of Title 18, United States Code, Section 1349.

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                          Counts Forty through Forty-Three
                           Wire Fraud - 18 U.S.C. § 1343
                          (Defendants MAHEE and LEwroN)
   119. The Grand Jury re-alleges and incorporates by reference the factual
allegations contained in paragraphs 1 through 31,34 through 37, and 111
through 118 of this Indictment as if fully set forth herein.
   120. On or about the dates listed in Column C, in the Northern District of
Georgia and elsewhere, the defendants listed in Column B, aided and abetted by
each other, Mark Mason, and other persons known and unknown to the Grand
Jury, for the purpose of executing and attempting to execute the aforementioned
scheme and artifice to defraud, and to obtain money and property by means of
materially false and fraudulent pretenses, representations, and promises, and by
omission of material facts, knowing and having reason to know that the pretense,
representation, promise, and omission was and would be material, did, with
intent to defraud, cause to be transmitted by means of a wire communication in
interstate and foreign commerce certain writings, signs, and signals - that is, the
electronic transmissions listed in Column D.
     A            B                C                           D
  Count Defendant(s)             Date         Description of Wire Transmission
                             (on or about)
   Forty MAHEE               April 3, 2020 Email from defendant MAHEE to
             LEWTON                          Mason and defendant LEWTON, with
                                             the subject "Re: Dirty South Hip
                                             Hop SSSS," in which defendant
                                             MAHEE wrote, "Mark, this is a white
                                             glove client. DO him at S7500 per
                                             month."
   Forty- LEVVTON           May 28, 2020 Email from Mason to defendant
    One                                      LEVVTON, with the subject "Re:
                                          43
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                                                URGENT - Your PPP loan
                                                application is missing information,"
                                                in which Mason wrote, "Dont worry
                                                about that one. I am getting you
                                                50K."
  Forty-    LEWTON           May 29, 2020       Email from defendant LEWTON to
   Two                                          Mason, with the subject "Fwd: Your
                                                Application," in which defendant
                                                LEWTON forwarded the link to the
                                                Financial Institution 1 online
                                                application portal.
  Forty-    LEWTON           May 30, 2020       Email from defendant LEWTON to
  Three                                         Mason, with the subject "EIN
                                                Letter," which attached a letter from
                                                the IRS assigning Powers Transport
                                                Group LLC an Employer
                                                Identification Number.
All in violation of Title 18, United States Code, Section 1343 and Section 2.
                                 Count Forty-Four
                 Conspiracy to Commit Wire Fraud - 18 U.S.C. § 1349
                (Defendants MAHEE, ALEXANDER, and GODBOLDO)
   121. The Grand Jury re-alleges and incorporates by reference the factual
allegations contained in paragraphs 1 through 31 and 34 through 37 of this
Indictment as if fully set forth herein.
   122. From on or about April 3, 2020 through on or about June 19, 2020, the
exact dates unknown, in the Northern District of Georgia and elsewhere, the
Defendants,
                                RICHARD MAHEE,
                            KRISTEN ALEXANDER, AND
                                DALE GODBOLDO



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did knowingly and willfully combine, conspire, confederate, agree, and have a
tacit understanding with each other, Mark Mason, and others known and
unknown to the Grand Jury, to devise and intend to devise a scheme and artifice
to defraud, and to obtain money and property, by means of materially false and
fraudulent pretenses, representations, and promises, and by the omission of
material facts, well knowing and having reason to know that said pretenses were
and would be false and fraudulent when made and caused to be made and that
said omissions were and would be material, and, in doing so, caused interstate
and foreign wire communications to be made, in furtherance of the scheme and
artifice to defraud, in violation of Title 18, United States Code, Section 1343.
                                Manner and Means
   123. Defendants MAHEE, ALEXANDER, and GODBOLDO, together with Mason
and others known and unknown to the Grand Jury, conspired to submit false
materials, such as a false PPP loan application and false IRS Forms 941, to
Financial Institution 1 to obtain PPP loan funding.
   124. As part of the conspiracy, defendants MAHEE, ALEXANDER, and
GODBOLDO, together with Mason, submitted false documents to Financial
Institution 1 when applying for a PPP loan on behalf of Mahout Star LLC,
including fabricated IRS Forms 941 listing falsified payroll information. Mason
created the falsified Forms 941 on behalf of defendant GODBOLDO. The Forms 941
that Mason created, which had never been filed with the IRS, were submitted in
support of the PPP loan application. The purpose of the false Forms 941 was to
circumvent Financial Institution l's requirement that prospective borrowers

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 submit Forms 941 to support the payroll figures that served as the basis for PPP
 loan amounts.
      125. The fabricated Forms 941 reflected the following payroll figures for
 2019 and 2020:
  Business          Q1 2019        Q2 2019            Q3 2019        Q42019         Q1 2020
                   Jan - Mar      Apr - Jun          Jul - Sep      Oct - Dec      Jan - Mar
MAHOUT STAR      15 employees   15 employees       15 employees   15 employees   15 employees
LLC              $371,277.00    $371,277.00        $371,277.00    $371,277.00    $371,277.00

      126. In fact, in 2019 and the first quarter of 2020, Mahout Star LLC did not:
 (1) file any Forms 941 with the IRS, (2) pay unemployment tax to the IRS, or (3)
 withhold federal income tax for any employee.
      127. In addition, Mason created and submitted falsified payroll
 documentation for Mahout Star LLC, including purported payroll spreadsheets
 and a purported payroll calculator.
      128. When the PPP loan application for Mahout Star LLC was submitted,
 defendants MAHEE, ALEXANDER, and GODBOLDO, together with Mason, knew
 that the application attached Forms 941 that had never been filed with the IRS.
      129. Throughout the conspiracy, defendants MAHEE, ALEXANDER, and
 GODBOLDO, together with Mason, utilized interstate wires to submit, assist in the
 submission, and communicate about the submission of false documents to
 Financial Institution 1 when applying for a PPP loan, including fabricated IRS
 Forms 941 listing falsified payroll information and false loan documentation that
 listed false payroll information, false employment information, and a false
 purpose for the loan funding.

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   130. As a result of and based on the fraudulent and false representations and
submissions made by defendants --
                               IvrA HEE, ALEXANDER, and GODBOLDO, together

with Mason, Financial Institution 1 distributed the loan proceeds of the Mahout
Star LLC loan as described in paragraph 29.
All in violation of Title 18, United States Code, Section 1349.
                       Counts Forty-Five through Forty-Eight
                          Wire Fraud - 18 U.S.C. § 1343
                      (Defendants ALEXANDER, and GODBOLDO)
   131. The Grand Jury re-alleges and incorporates by reference the factual
allegations contained in paragraphs 1 through 31,34 through 37, and 123
through 130 of this Indictment as if fully set forth herein.
   132. On or about the dates listed in Column C, in the Northern District of
Georgia and elsewhere, the defendants listed in Column B, aided and abetted by
each other, Mark Mason, and other persons known and unknown to the Grand
Jury, for the purpose of executing and attempting to execute the aforementioned
scheme and artifice to defraud, and to obtain money and property by means of
materially false and fraudulent pretenses, representations, and promises, and by
omission of material facts, knowing and having reason to know that the pretense,
representation, promise, and omission was and would be material, did, with
intent to defraud, cause to be transmitted by means of a wire communication in
interstate and foreign commerce certain writings, signs, and signals - that is, the
electronic transmissions listed in Column D.




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   A        B                     C                             D
 Count Defendant(s)             Date            Description of Wire Transmission
                            (on or about)
  Forty-   GODBOLDO        June 8, 2020        Email from Mason to defendant
   Five                                        GODBOLDO, with the subject "Re:
                                               PPP/ Next Phase," in which Mason
                                               attached a blank PPP borrower
                                               application form and instructed
                                               defendant GODBOLDO to complete it
                                               and return it to him.
 Forty- ALEXANDER          June 9, 2020        Email from Mason to defendants
  Six   GODBOLDO                               ALEXANDER and GODBOLDO, as well
                                               as others, with the subject "Re:
                                               PPP/ Next Phase," in which Mason
                                               wrote, "Spoke with Dale last night
                                               and we good to moving forward
                                               with the right plan. He and ION will
                                               be into the system today for PPP
                                               funding once I get the signed
                                               applications and Drivers License for
                                               Dale."
 Forty- ALEXANDER          June 9, 2020        Email from defendant GODBOLDO to
 Seven GODBOLDO                                Mason, defendant ALEXANDER, and
                                               others, with the subject "Re:
                                               PPP/ Next Phase," which attached
                                               an image of defendant GODBOLDO'S
                                               California driver's license.
 Forty-    GODBOLDO       June 10, 2020        Email from defendant GODBOLDO to
 Eight                                         Mason, with the subject "Fwd: Your
                                               Application," in which defendant
                                               GODBOLDO forwarded the link to the
                                               Financial Institution 1 online
                                               application portal.
All in violation of Title 18, United States Code, Section 1343 and Section 2.




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                                 Count Forty-Nine
                          Money Laundering - 18 U.S.C. § 1957
                               (Defendant GODBOLDO)
   133. The Grand Jury re-alleges and incorporates by reference the factual
allegations contained in paragraphs 1 through 31,34 through 37, 123 through
130, and 132 of this Indictment as if fully set forth herein.
   134. On or about June 19, 2020, in the Northern District of Georgia and
elsewhere, the Defendant,
                                  DALE GODBOLDO,
knowingly engaged in, attempted to engage in, and caused others to engage in a
monetary transaction by, through, and to a financial institution, affecting
interstate and foreign commerce, knowing that such transaction involved
criminally derived property of a value greater than $10,000, such property
having been derived from a specified unlawful activity, that is, wire fraud, in
violation of Title 18, United States Code, 1343, by causing $15,970 in PPP loan
funds to be received by Mason in a Wells Fargo bank account held in the name of
Atlanta Business Capital through a wire transfer from a Chase business checking
account ending in 0818, held in the name of Mahout Star LLC.
All in violation of Title 18, United States Code, Section 1957.
                                  Count Fifty
                Conspiracy to Commit Wire Fraud - 18 U.S.C. § 1349
            (Defendants MAHEE, ALEXANDER, OVERMAN, and GODBOLDO)
   135. The Grand Jury re-alleges and incorporates by reference the factual
allegations contained in paragraphs 1 through 31,34 through 37, 123 through
130, and 132, of this Indictment as if fully set forth herein.

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   136. From on or about April 3, 2020 through on or about July 10, 2020, the
exact dates unknown, in the Northern District of Georgia and elsewhere, the
Defendants,
                                RICHARD MAHEE,
                              KRISTEN ALEXANDER,
                               ION OVERMAN, AND
                                DALE GODBOLDO
did knowingly and willfully combine, conspire, confederate, agree, and have a
tacit understanding with each other, Mark Mason, and others known and
unknown to the Grand Jury, to devise and intend to devise a scheme and artifice
to defraud, and to obtain money and property, by means of materially false and
fraudulent pretenses, representations, and promises, and by the omission of
material facts, well knowing and having reason to know that said pretenses were
and would be false and fraudulent when made and caused to be made and that
said omissions were and would be material, and, in doing so, caused interstate
and foreign wire communications to be made, in furtherance of the scheme and
artifice to defraud, in violation of Title 18, United States Code, Section 1343.
                                Manner and Means
   137. Defendants MAHEE, ALEXANDER, OVERMAN, and GODBOLDO, together
with Mason and others known and unknown to the Grand Jury, conspired to
submit false materials, such as a false PPP loan application and false IRS Forms
941, to Financial Institution 1 to obtain PPP loan funding.
   138. As part of the conspiracy, defendants MAHEE, ALEXANDER, OVERMAN,
and GODBOLDO, together with Mason, submitted false documents to Financial
Institution 1 when applying for a PPP loan on behalf of Bryanston Square, Inc.,
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 including fabricated IRS Forms 941 listing falsified payroll information. Mason
 created the falsified Forms 941 on behalf of defendant OVERMAN. The Forms 941
 that Mason created, which had never been filed with the IRS, were submitted in
 support of the PPP loan application. The purpose of the false Forms 941 was to
 circumvent Financial Institution l's requirement that prospective borrowers
 submit Forms 941 to support the payroll figures that served as the basis for PPP
 loan amounts.
    139. The fabricated Forms 941 reflected the following payroll figures for
 2019 and 2020:

   Business         Q1 2019      Q2 2019      Q3 2019        Q4 2019       Q1 2020
                  Jan-Mar       Apr-Jun      Jul-Sep        Oct-Dec       Jan-Mar
BRYANSTON        11 employees 11 employees 11 employees    11 employees 11 employees
SQUARE INC.      S271,350.00   $271,350.00   $271,350.00   $271,350.00   $256,775.00

    140. In fact, in 2019 and the first quarter of 2020, Bryanston Square LLC did
 not: (1) file any Forms 941 with the IRS, (2) pay unemployment tax to the IRS, or
 (3) withhold federal income tax for any employee.
    141. In addition, Mason created and submitted falsified payroll
 documentation for Bryanston Square Inc., including a purported payroll
 calculator.
    142. When the PPP loan application for Bryanston Square LLC was
 submitted, defendants MAHEE, ALEXANDER, OVERMAN, and GODBOLDO, together
 with Mason, knew that the application attached Forms 941 that had never been
 filed with the IRS.
    143. Throughout the conspiracy, defendants MAHEE, ALEXANDER, OVERMAN,
 and GODBOLDO, together with Mason, utilized interstate wires to submit, assist in
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the submission, and communicate about the submission of false documents to
Financial Institution 1 when applying for a PPP loan, including fabricated IRS
Forms 941 listing falsified payroll information and false loan documentation that
listed false payroll information, false employment information, and a false
purpose for the loan funding.
   144. As a result of and based on the fraudulent and false representations and
submissions made by defendants MAHEE, ALEXANDER, OVERMAN, and
GODBOLDO, together with Mason, Financial Institution 1 distributed the loan
proceeds of the Bryanston Square LLC loan as described in paragraph 29.
All in violation of Title 18, United States Code, Section 1349.
                      Counts Fifty-One through Fifty-Three
                         Wire Fraud - 18 U.S.C. § 1343
                (Defendants ALEXANDER, OVERMAN, and GODBOLDO)
   145. The Grand Jury re-alleges and incorporates by reference the factual
allegations contained in paragraphs 1 through 31,34 through 37,123 through
130, 132, and 137 through 144 of this Indictment as if fully set forth herein.
   146. On or about the dates listed in Column C, in the Northern District of
Georgia and elsewhere, the defendants listed in Column B, aided and abetted by
each other, Mark Mason, and other persons known and unknown to the Grand
Jury, for the purpose of executing and attempting to execute the aforementioned
scheme and artifice to defraud, and to obtain money and property by means of
materially false and fraudulent pretenses, representations, and promises, and by
omission of material facts, knowing and having reason to know that the pretense,
representation, promise, and omission was and would be material, did, with

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intent to defraud, cause to be transmitted by means of a wire communication in
interstate and foreign commerce certain writings, signs, and signals - that is, the
electronic transmissions listed in Column D.


   A              B                C                          D
  Count      Defendant(s)        Date       Description of Wire Transmission
                             (on or about)
Fifty-One ALEXANDER          June 9,2020   Email from defendant GODBOLDO to
          GODBOLDO                         Mason, defendant ALEXANDER, and
                                           others, with the subject "Re:
                                           PPP/ Next Phase," in which
                                           defendant GODBOLDO attached
                                           partially-completed PPP borrower
                                           application forms for Mahout Star
                                           LLC and Bryanston Square Inc. and
                                           wrote, "I've also attached a form for
                                           actress/producer, Ion Overman's
                                           company called Bryanston Square,
                                           Inc. Please call me to discuss this
                                           opportunity, as well."
   Fifty-    OVERMAN         June 10, 2020 Email from defendant OVERMAN to
   Two                                     Mason, with the subject "Fwd: Your
                                           Application," in which defendant
                                           OVERMAN forwarded the link to the
                                           Financial Institution 1 online
                                           application portal.
  Fifty-     OVERMAN         June 22, 2020 Email from Mason to defendants
  Three      GODBOLDO                      OVERMAN and GODBOLDO, with the
                                           subject "Suppl Application," in
                                           which Mason wrote "Please have
                                           her sign and return to Harvest." The
                                           email attached a document labeled
                                           "PPP SUPP Form-UPDATED
                                           Bryanston Sq.pdf" which listed


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                                              Bryanston Square Inc.'s business
                                              revenues for 2019 as $835,256.
All in violation of Title 18, United States Code, Section 1343 and Section 2.

                                 Count Fifty-Four
                         Money Laundering - 18 U.S.C. § 1957
                              (Defendant OVERMAN)
   147. The Grand Jury re-alleges and incorporates by reference the factual
allegations contained in paragraphs 1 through 31,34 through 37, 123 through
130, 132, 137 through 144, and 146 of this Indictment as if fully set forth herein.
   148. On or about July 10, 2020, in the Northern District of Georgia and
elsewhere, the Defendant,
                                    ION OVERMAN,
knowingly engaged in, attempted to engage in, and caused others to engage in a
monetary transaction by, through, and to a financial institution, affecting
interstate and foreign commerce, knowing that such transaction involved
criminally derived property of a value greater than 10,000, such property
having been derived from a specified unlawful activity, that is, wire fraud, in
violation of Title 18, United States Code, 1343, by causing a check for
approximately $11,303.25 in PPP loan funds to be deposited by Mason into a
Wells Fargo bank account held in the name of Atlanta Business Capital, which
was withdrawn from a SAG-AFTRA Federal Credit Union checking account
ending in 588, held in the name of Bryanston Square Inc.
   All in violation of Title 18, United States Code, Section 1957.



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                                  Count Fifty-Five
                 Conspiracy to Commit Wire Fraud - 18 U.S.C. § 1349
                         (Defendants MAHEE and LEWTON)
   149. The Grand Jury re-alleges and incorporates by reference the factual
allegations contained in paragraphs 1 through 31,34 through 37, 111 through
118, and 120 of this Indictment as if fully set forth herein.
   150. From on or about April 3, 2020 through on or about August 9, 2020, the
exact dates unknown, in the Northern District of Georgia and elsewhere, the
Defendants,
                           RICHARD MAHEE, AND
                    MARVIN LEWTON, A/K/A "SHADI POWERS,"
did knowingly and willfully combine, conspire, confederate, agree, and have a
tacit understanding with each other, Mark Mason, and others known and
unknown to the Grand Jury, to devise and intend to devise a scheme and artifice
to defraud, and to obtain money and property, by means of materially false and
fraudulent pretenses, representations, and promises, and by the omission of
material facts, well knowing and having reason to know that said pretenses were
and would be false and fraudulent when made and caused to be made and that
said omissions were and would be material, and, in doing so, caused interstate
and foreign wire communications to be made, in furtherance of the scheme and
artifice to defraud, in violation of Title 18, United States Code, Section 1343.
                                Manner and Means
   151. Defendants MAHEE and LEWTON, together with Mason and others
known and unknown to the Grand Jury, conspired to submit false materials,


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     such as a false PPP loan application and false IRS Forms 941, to Financial
     Institution 1 to obtain PPP loan funding.
        152. As part of the conspiracy, defendants MAHEE and LEVVTON, together
     with Mason, submitted false documents to Financial Institution 1 when applying
     for a PPP loan on behalf of DirtySouthHipHop Online Media Group LLC,
     including fabricated IRS Forms 941 listing falsified payroll information. Mason
     created the falsified Forms 941 on behalf of defendant LEwroN. The Forms 941
     that Mason created, which had never been filed with the IRS, were submitted in
     support of the PPP loan application. The purpose of the false Forms 941 was to
     circumvent Financial Institution l's requirement that prospective borrowers
     submit Forms 941 to support the payroll figures that served as the basis for PPP
     loan amounts.
        153. The fabricated Forms 941 reflected the following payroll figures for
    2019 and 2020:
    Business         Q1 2019       Q2 2019         Q3 2019       Q4 2019         Q1 2020       Q2 2020
                   Jan - Mar      Apr - Jun      Jul - Sep      Oct - Dec      Jan - Mar      Apr - Jun
DIRTYSOUTHHIPHOP   21 employees   21 employees   21 employees   21 employees   16 employees   16 employees
ONLINE MEDIA       $463,942.00    $463,350.00    $463,350.00    $464,470.00    $409,129.00    $300,482.00
GROUP LLC

       154. In fact, during 2019 and the first two quarters of 2020,
    DirtySouthHipHop Online Media Group LLC did not: (1) make any tax filings
    with the IRS, (2) pay unemployment tax to the IRS, or (3) withhold federal
    income tax for any employee.
       155. In addition, Mason altered the IRS Notice CF 575 for
    DirtySouthHipHop Online Media Group LLC to change the date of the issuance

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of the Employer Identification Number from June 1, 2020 to June 1, 2018. Mason
submitted the altered IRS Notice CF 575 with the loan application.
   156. When the PPP loan application for DirtySouthHipHop Online Media
Group LLC was submitted, defendants MAHEE and LEWTON, together with
Mason, knew that the application attached Forms 941 that had never been filed
with the IRS. Defendant LEWTON, together with Mason, knew the application
attached an altered IRS Notice CF 575 to represent that the business was in
operation as of February 15, 2020.
   157. Throughout the conspiracy, defendants MAHEE and LEVVTON, together
with Mason, utilized interstate wires to submit, assist in the submission, and
communicate about the submission of false documents to Financial Institution 1
when applying for a PPP loan, including fabricated IRS Forms 941 listing
falsified payroll information and false loan documentation that listed false
payroll information, false employment information, and a false purpose for the
loan funding.
All in violation of Title 18, United States Code, Section 1349.
                         Count Fifty-Six through Fifty-Eight
                           Wire Fraud - 18 U.S.C. § 1343
                          (Defendants MAHEE and LEWTON)
   158. The Grand Jury re-alleges and incorporates by reference the factual
allegations contained in paragraphs 1 through 31,34 through 37, 111 through
118, 120, and 151 through 157, of this Indictment as if fully set forth herein.
   159. On or about the dates listed in Column C, in the Northern District of
Georgia and elsewhere, the defendants listed in Column B, aided and abetted by

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each other, Mark Mason, and other persons known and unknown to the Grand
Jury, for the purpose of executing and attempting to execute the aforementioned
scheme and artifice to defraud, and to obtain money and property by means of
materially false and fraudulent pretenses, representations, and promises, and by
omission of material facts, knowing and having reason to know that the pretense,
representation, promise, and omission was and would be material, did, with
intent to defraud, cause to be transmitted by means of a wire communication in
interstate and foreign commerce certain writings, signs, and signals - that is, the
electronic transmissions listed in Column D.
     A             B                C                          D
   Count Defendant(s)              Date      Description of Wire Transmission
                              (on or about)
 Fifty-Six MAHEE             April 3, 2020   Email from defendant LEWTON to
              LEWTON                         Mason and defendant MAHEE,
                                             with the subject "Re: Dirty South
                                             Hip Hop SSS," in which defendant
                                             LEWTON provided information
                                             about DirtySouthHipHop Online
                                             Media Group LLC and noted,
                                             "DBA will be setup on Monday
                                             and my LLC was reinstated
                                             yesterday so that will take a few
                                             days to process."
   Fifty- LEWTON             June 1, 2020    Email from defendant LEWTON to
   Seven                                     Mason, with the subject
                                             "UpdatedEIN," in which
                                             defendant LEWTON attached the
                                             IRS Notice CF 575 for
                                             DirtySouthHipHop Online Media
                                             Group LLC dated June 1, 2020 and
                                             wrote, "This matches my banking


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                                            and ID. I don't need any more
                                            obstacles."
   Fifty-    LEVVTON         August 4, 2020 Email from defendant LEWTON to
   Eight                                    Mason, with the subject "Fwd:
                                            Your Application," in which
                                            defendant LEWTON forwarded the
                                            link to the Financial Institution 1
                                            online application portal.
All in violation of Title 18, United States Code, Section 1343 and Section 2.
                                     Forfeiture
   Upon conviction of one or more of the offenses alleged in Counts One
through Forty-Eight, Fifty through Fifty-Three, and Fifty-Five through Fifty-
Eight of this Indictment, the Defendants,
                          RICHARD MAHEE,
                          KRISTEN ALEXANDER,
                          DAVID BURGE,
                          GINA DESTITO,
                          JIM WHITE,
                          MORGAN BROWN,
                          CARLOS STEPHENS,
                          MARVIN LEWTON,
                             A/K/A "SHADI POWERS,"
                          DALE GODBOLDO, and
                          ION OVERMAN
shall forfeit to the United States, pursuant to Title 18, United States Code, Section
982(a)(2), any property constituting, or derived from, proceeds obtained directly
or indirectly as the result of such violation, including but not limited to the
following:




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       a. MONEY JUDGMENT: A sum of money in United States currency equal
          to the amount of proceeds the Defendant obtained as a result of the
          offense for which the Defendant is convicted.
   Upon conviction of one or more of the offenses alleged in Counts Forty-Nine
and Fifty-Four of this Indictment, the Defendants,
                          DALE GODBOLD°, and
                          ION OVERMAN
shall forfeit to the United States, pursuant to Title 18, United States Code, Section
982(a)(1), any property, real or personal, involved in the offense and any
property traceable to such property, including but not limited to the following:
      a. MONEY JUDGMENT: A sum of money in United States currency equal
          to the amount of proceeds the Defendant obtained as a result of the
          offense for which the Defendant is convicted.
   If, as a result of any act or omission of a defendant, any property subject to
forfeiture:
      (1)cannot be located upon the exercise of due diligence;
      (2)has been transferred or sold to, or deposited with, a third party;
      (3)has been placed beyond the jurisdiction of the Court;
      (4)has been substantially diminished in value; or
      (5)has been commingled with other property which cannot be divided
      without difficulty;
the United States intends, pursuant to Title 21, United States Code, Section 853(p)
as incorporated by Title 28, United States Code, Section 2461(c) and Title 18,


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United States Code, Section 982(b)(1), to seek forfeiture of any other property of
said defendant up to the value of the forfeitable property.


                                         A                                   BILL


                                                     FOREPERSON
KURT R. ERSKINE
 United States Attorney


NICHOLAS HARTIGAN
 Assistant United States Attorney
Georgia Bar No. 408147

   ootzm      T Pra-rz
LAUREN T. MACON
 Assistant United States Attorney
Georgia Bar No. 763604

600 U.S. Courthouse
75 Ted Turner Drive SW
Atlanta, GA 30303
404-581-6000; Fax: 404-581-6181




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